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 Attorneys for Plaintiff

                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAII

                                           )
 MICHAEL SANTUCCI,                         )
                                           )
                                           )
 Plaintiff,                                )
                                           ) Civil Action No. _____________
 v.                                        )
                                           )
 CITY AND COUNTY OF HONOLULU, )
 and HOLLY T. SHIKADA, in her              )
 Official Capacity as the Attorney General )
 of the State of Hawaii                    )
                                           )
                                           )
 Defendants                                )
 ____________________________________)
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                  VERIFIED COMPLAINT FOR DECLARATORY
                          AND INJUNCTIVE RELIEF

       COME NOW the Plaintiff, MICHAEL SANTUCCI, by and through his

 undersigned counsel, and complains of the Defendants as follows:

                                      I.     PARTIES

 Plaintiff

       1.        Plaintiff Michael Santucci (Santucci) is an adult male resident of the

       State of Hawaii and resides in Honolulu County and is a citizen of the United

       States.

 Defendants

       2.     Defendant City and County of Honolulu (“City”) is a municipal

       corporation incorporated under the laws of the State of Hawaii. The City is

       authorized by law to control and maintain the Honolulu Police Department,

       an agency of the City, who acts on the City’s behalf in the area of law

       enforcement. The County is therefore ultimately responsible for Honolulu

       Police Department (“HPD”) and its actions, and therefore, must assume the

       risks incidental to the maintenance of HPD, its employees, laws, customs

       and policies. The County can be served by serving the Department of the

       Corporation Counsel, County of Honolulu.

       3.        Defendant Holly T. Shikada is the Attorney General of the State of

       Hawaii (“State”) and is sued in her official capacity and is responsible for

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       enforcing the State of Hawaii’s customs, policies, practices and laws related

       to the State of Hawaii on the acquisition, possession and registration of

       firearms. Defendant Shikada may be served at the Office of Attorney

       General located at 425 Queen St, Honolulu, Hawaii 96813.

                        II.     JURISDICTION AND VENUE

       4.     This Court has subject matter jurisdiction over this action pursuant to

       28 U.S.C. §§ 1331, 1343, 2201, 2202 and 42 U.S.C. § 1983 and § 1988.

       5.    Venue lies in this Court pursuant to 28 U.S.C. § 1391.

                              STATEMENT OF LAW

 2ND Amendment

       6.    The Second Amendment to the United States Constitution provides: “A

       well regulated Militia, being necessary to the security of a free State, the right

       of the people to keep and bear Arms shall not be infringed.”

       7.    The Second Amendment guarantees individuals a fundamental right to

       keep and carry arms for self-defense and defense of others in the event of a

       violent confrontation. District of Columbia v. Heller, 554 U.S. 570 (2008);

       McDonald v. Chicago, 561 U.S. 742 (2010); Caetano v. Massachusetts, 577

       U.S. 1027 (2016).

       8.    Firearms are protected by the Second Amendment. District of

       Columbia v. Heller, 554 U.S. 570 (2008).


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       9.    Given the decision in Heller, Defendants may not impose regulations

       on the right to keep and carry arms that are inconsistent with the Second

       Amendment. Heller v. District of Columbia, 801 F.3d 264 (D.C. Cir. 2015).

                               H.R.S. §134 Firearms

       10.       Hawaii law requires the registration of all firearms. See H.R.S.

       §134-3.

       11.       Hawaii law requires that “[e]very person who acquires a firearm

       pursuant to section §134-2 shall register the firearm in the manner prescribed

       by this section within five days of acquisition.” See H.R.S. §134-3.

       12.       Prior to acquiring a handgun, all persons must apply for a permit to

       acquire. See H.R.S. §134-2.

       13.       Pursuant to Hawaii law, after applying, an applicant must wait 14

       days before returning to retrieve his permit to acquire. See H.R.S. §134-2.

       14.       Pursuant to H.R.S. §134-7(c)(3), no one in the State of Hawaii who

       is or has been diagnosed as having a significant behavioral, emotional, or

       mental disorder as defined by the most current diagnostic manual of the

       American Psychiatric Association or for treatment for organic brain

       syndromes; shall own, possess, or control any firearm or ammunition therefor,

       unless the person has been medically documented to be no longer adversely




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       affected by the addiction, abuse, dependence, mental disease, disorder, or

       defect.

       15.       Hawaii law, H.R.S. §134-2(c), provides “An applicant for a permit

       shall sign a waiver at the time of application, allowing the chief of police of

       the county issuing the permit access to any records that have a bearing on

       the mental health of the applicant. The permit application form and the

       waiver form shall be prescribed by the attorney general and shall be uniform

       throughout the State.”

       16.       Hawaii law provides-


             [§134-3.5] Disclosure for firearm permit and registration
             purposes. A health care provider or public health authority shall
             disclose health information, including protected health care
             information, relating to an individual's mental health history, to the
             appropriate county chief of police in response to a request for the
             information from the chief of police; provided that:

             (1) The information shall be used only for the purpose of evaluating
             the individual's fitness to acquire or own a firearm; and

             (2) The individual has signed a waiver permitting release of the
             health information for that purpose.

       17.       Hawaii law provides relief for persons who have been committed to

       a mental institution or for being mentally defective.


              [§134-6.5] Relief from federal firearms mental health
             prohibitor. (a) Any person who is prohibited from shipping,
             transporting, possessing, or receiving any firearm or ammunition,


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            pursuant to title 18 United States Code section 922(d)(4) or (g)(4),
            having been adjudicated as a mental defective or having been
            committed to a mental institution under the laws of this State, may
            petition the circuit court in the circuit where the adjudication or
            commitment was made, in a civil proceeding, for relief from the
            federal firearm prohibitor based on the adjudication or
            commitment. The attorney general shall represent the State; provided
            that the attorney general, with the prosecuting agency's consent, may
            designate the prosecuting attorney for the county in which the
            petitioner seeks relief to represent the State.

               (b) In the civil proceeding, the court shall consider:

               (1) The circumstances regarding the adjudication or commitment
            from which relief is sought, including the court files of the
            adjudication or commitment;

               (2) The petitioner's mental health and criminal history records, if
            any;

               (3) The petitioner's reputation in the community, developed at a
            minimum through character witness statements, testimony, or other
            character evidence; and

               (4) Changes in the petitioner's condition or circumstances since
            the disqualifying events relevant to the relief sought, including
            medical documentation that the petitioner is no longer adversely
            affected by the condition that resulted in the petitioner's adjudication
            or commitment and is not likely to act in a manner dangerous to
            public safety.

               (c) The court shall grant the petition for relief if the petitioner
            proves, by clear and convincing evidence, that the petitioner will not
            be likely to act in a manner dangerous to public safety and that the
            granting of the relief would not be contrary to the public interest. The
            court shall make written findings of facts and conclusions of law on
            the issues before it and issue a final order.

                (d) When a court issues an order granting or denying a petition for
            relief, the court shall forward this information to the Hawaii criminal
            justice data center, which in turn shall forward this information to the

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             Federal Bureau of Investigation, or its successor agency, for inclusion
             in the National Instant Criminal Background Check System
             database. The information shall also be maintained by the Hawaii
             criminal justice data center for disclosure to and use by law
             enforcement officials for the purpose of firearms permitting or
             registration pursuant to chapter 134.

                 (e) A person may file a petition for relief under this section no less
             than two years after the adjudication or commitment from which the
             relief is sought, and no more frequently than once every three years
             thereafter.

                (f) For purposes of this section, the terms "adjudicated as a mental
             defective", "committed to a mental institution", and "mental
             institution" shall be construed in accordance with title 18 United
             States Code section 922, title 27 Code of Federal Regulations section
             478.11, and judicial interpretations of those provisions.

                 (g) Any relief granted pursuant to this section shall not constitute
             relief from any other federal prohibitors or from any state prohibition
             pursuant to chapter 134. The State, its officers, and its employees
             shall not be liable for any damages, attorneys' fees, or costs related to
             this relief process.

                (h) The petitioner may appeal a denial of relief, and the standard
             of review on appeal shall be de novo.

       18.      Hawaii law provides that when an applicant for a permit to acquire

       a firearm applies, his information is submitted for a criminal history check.

       A criminal history check involves taking the information of an applicant and

       submitting it to, inter alia, the Federal Bureau of Investigation National

       Crime Information Center. H.R.S. §134-2(e) “….The issuing authority shall

       perform an inquiry on an applicant by using the International Justice and

       Public Safety Network, including the United States Immigration and


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       Customs Enforcement query, the National Crime Information Center, and

       the National Instant Criminal Background Check System, pursuant to

       section 846-2.7 before any determination to issue a permit or to deny an

       application is made.”


             H.R.S. §846-2.7 Criminal history record checks.
             (a) The agencies and other entities named in subsections (b) and (c)
                 may conduct state and national criminal history record checks on
                 the personnel identified in subsections (b) and (c), and participate
                 in the rap back program, for the purpose of determining suitability
                 or fitness for a permit, license, employment, or volunteer service;
                 provided that the Hawaii criminal justice data center may charge a
                 reasonable fee for the criminal history record checks
                 performed. The agencies and other entities named in subsections
                 (b) and (c) shall notify applicants, employees, and volunteers
                 subject to a criminal history record check pursuant to this section
                 that their fingerprints shall be retained by the Hawaii criminal
                 justice data center and the Federal Bureau of Investigation for all
                 purposes and uses authorized for fingerprint
                 submissions. Notification shall also be given to the applicants,
                 employees, and volunteers subject to the rap back program. The
                 criminal history record check shall include the submission of
                 fingerprints to:
                 (1) The Federal Bureau of Investigation for a national criminal
                     history record check; and
                 (2) The Hawaii criminal justice data center for a state criminal
                     history record check that shall include nonconviction data.
                  Except as otherwise provided in this section, criminal history
                  record information shall be used exclusively for the stated
                  purpose for which it was obtained in accordance with section
                  378-2.5.
                 (b)Criminal history record checks may be conducted by:…

                 (43) The county police departments on applicants for permits to
                 acquire firearms pursuant to section 134-2 and on individuals
                 registering their firearms pursuant to section 134-3;

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       19.   Hawaii law provides that an applicant for a permit to acquire a

       firearm will have his information processed through the National Crime

       Information Center (NCIC) and Hawaii also participates in the Interstate

       Identification Index (III)/National Fingerprint File (NFF). The HPD

       accesses the NCIC for various purposes, including for permit to acquire

       firearm applications. HPD is aware that the data in the NCIC/III/NFF is

       sensitive information. see https://www.honolulupd.org/policy/policy-

       security-of-data-from-the-ncic-interstate-identification-index/ , HPD policy,

       last accessed March 10, 2022, which provides, in part,


                    “ To inform personnel of a documentation requirement
                    for the National Crime Information Center (NCIC)
                    when submitting cases to the Department of the
                    Prosecuting Attorney, City and County of Honolulu.

                    NCIC INTERSTATE IDENTIFICATION INDEX (III)

                    A. All personnel who access the NCIC system
                    should know that obtaining and disseminating
                    data from the NCIC III file comes under close
                    scrutiny and is subject to the Criminal Justice
                    Information Services (CJIS) Security Policy.
                    Custody information must be documented for all
                    data disseminated from one authorized person to another.

                    B. When information is obtained from the NCIC
                    III file, the authorized person must document
                    when the file was queried and the purpose of
                    the query, as well as accounting for the
                    dissemination of hard copies of the data.
                    The CJIS Security Policy requires that, during


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                     an audit, each user must account for any access
                     to the NCIC III information.

                     C. The NCIC III data can be obtained from the
                     NCIC system using an appropriate purpose code.
                     However, the data are highly confidential and
                     must be treated with great security as dictated
                     by the U.S. Department of Justice. Any violations
                     may lead to administrative and/or criminal
                     sanctions against the violator and/or the violator’s
                     agency.”

        20.      HPD has access to the federal database NICS (National Instant

        Criminal Background Check System), that includes a category labeled

        “adjudicated mental health” and Hawaii already has, as of December 31,

        2021, 9,555 persons listed in that category. See Exhibit A,

        https://www.fbi.gov/file-repository/active-records-in-the-nics-indices-by-

        state.pdf., last accessed on April 3, 2022.


                                 STATEMENT OF FACTS
                                  PLAINTIFF SANTUCCI

        21.      Plaintiff Santucci is a commissioned officer, a Lieutenant Junior

        Grade, in the United States Navy.

        22.      In February 2021, Santucci arrived in Hawaii.

        23.      Santucci was born in 1996.

        24.      Santucci joined the United States navy in 2015.

        25.      Santucci is unmarried.



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         26.    Santucci is a Cryptologic Warfare officer with a higher than Top

         Secret clearance for the navy.

         27.    Santucci, prior to arriving in Hawaii, legally owned several firearms.

         28.    As an officer in the United States navy, Santucci has recently

         trained with and been approved to possess and use firearms including

         military weapons, pistol and long gun.

         29.    On or about May 24, 2021, Santucci, saw a medical provider at

         Tripler Army Medical Center (“TAMC”).

         30.    Santucci saw the medical provider at TAMC because he was

         feeling depressed and homesick.

         31.    Santucci was not diagnosed, at TAMC, nor ever, with having a

         significant behavioral, emotional, or mental disorder as defined by the

         most current diagnostic manual of the American Psychiatric Association

         nor was he treated for organic brain syndromes;

         32.   Santucci, on or about July 13, 2021, filled out documents provided

         to him by HPD to register his firearms, specifically to authorize him to

         possess firearms that he already lawfully owned and possessed, by

         submitting “permit to acquire” documentation that is substantially

         identical to the blank form shown in Exhibit B.




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         33.    Defendants/City/State and HPD have the “permit to acquire”

         documentation, which is the filled-out form shown in Exhibit B filled out

         by Santucci.

         34.    Exhibit B, inter alia, includes a “Firearm Application

         Questionnaire” that includes the following questions:

                a) Are you or have you been under treatment or counseling for
                   addiction to, abuse of, or dependence upon, any dangerous,
                   harmful or detrimental drug, intoxicating compound, or
                   intoxicating liquid, or controlled substance? [HRS §134-7(c)(1)]

                   If yes, include name of treating physician______________

                b) Have you been acquitted of a crime on the grounds of mental
                   disease, disorder, or defect? [HRS §134-7(c)(2)]

                   If yes, include name of treating physician______________

                c) Have you been adjudicated as a mental defective or have been
                   committed to any mental institution? [18 U.S.C. § 922(g)(4)]

                   If yes, include name of treating physician______________

                d) Have you been diagnosed as having a behavioral, emotional, or
                   mental disorder(s)? [HRS §134-7(c)(3)]

                   If yes, include name of treating physician______________

                e) Are you or have you been under treatment for organic brain
                   syndrome(s)? [HRS §134-7(c)(3)]

                    If yes, include name of treating physician______________

         35.    Santucci has never been under treatment or counseling for


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         addiction to, abuse of, or dependence upon, any dangerous, harmful or

         detrimental drug, intoxicating compound, or intoxicating liquid, or

         controlled substance. Santucci answered “no” to this question.

         36.    Santucci has never been acquitted of a crime on the grounds of

         mental disease, disorder, or defect. Santucci answered “no” to this

         question.

         37.    Santucci has never been adjudicated as a mental defective or

         been committed to any mental institution. Santucci answered “no” to this

         question.

         38.    Santucci has never been under treatment or organic brain

         syndrome. Santucci answered “no” to this question.

         39.    Santucci had been treated for depression at TAMC (Tripler Army

         Medical Center) and answered “yes” adding “not serious”.

         40.    Santucci received from the HPD, in the documentation to register

         his firearms and the “permit to acquire” his firearms, a form entitled

         “Medical Information Waiver”, a copy of the blank form of which is

         attached as Exhibit C. (Exhibit C includes two forms apparently used by

         HPD, HPD form 89 and HPD form 89A) This form authorizes health care

         providers to deliver “any and all records which have a bearing on my

         mental health” to the HPD for the purposes of determining if the applicant


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         is a prohibited possessor under Hawaii state law, which, although not

         specifically mentioned on the form, can only mean H.R.S. §134-7(c)(3).

         41.    On or about July 13, 2021, HPD delivered to Santucci a letter, a

         copy of which is attached as Exhibit D.

         42.    Exhibit D states –

                    During the course of your background check, it was determined
                    that you may have received or are currently receiving treatment
                    or counseling for the following:
                       1. An addiction to, abuse of, or dependence upon any drug,
                           intoxicating compound, or intoxicating liquor;
                    OR
                       2. A behavior, emotional, or mental disorder as defined by
                           the most current manual of American Psychiatric
                           Association;
                    OR
                       3. An organic brain syndrome.

                    As such, in order to complete the processing of your
                    application, we will require written certification from a licensed
                    psychologist, psychiatrist, or medical doctor documenting that
                    you are no longer adversely affected by the addiction, abuse,
                    dependence, mental disease, disorder, or defect. No further
                    action will be taken on your application until the required letter
                    is received.

         43.    On or about July 13, 2021, Santucci delivered his firearms to HPD

         because he was told he had to. Defendants/City/State and HPD have not

         taken any further action on Santucci’s permit to acquire his firearms. HPD

         still holds Santucci’s firearms. Santucci has not received nor been issued a

         permit to acquire firearms. DoD doctors can’t provide written certification.


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         44.    HPD did not possess, prior to Santucci’s permit to acquire

         application, any information or material that proved that Santucci is or had

         been diagnosed as having a significant behavioral, emotional, or mental

         disorders as defined by the most current diagnostic manual of the

         American Psychiatric Association or for treatment for organic brain

         syndromes.


         45.    HPD did not possess, through Santucci’s application for a permit

         to acquire, any information or material that proved that Santucci is or had

         been diagnosed as having a significant behavioral, emotional, or mental

         disorders as defined by the most current diagnostic manual of the

         American Psychiatric Association or for treatment for organic brain

         syndromes.

         46.    HPD did not possess, through any materials or information

         acquired through the disclosure of medical and mental health information

         that Santucci authorized the disclosure of any information or material that

         proved that Santucci is or had been diagnosed as having a significant

         behavioral, emotional, or mental disorders as defined by the most current

         diagnostic manual of the American Psychiatric Association or for

         treatment for organic brain syndromes.



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         47.    Based upon information and belief, Santucci is not on the

         III/NFF/NICS list of persons “adjudicated mental health”.

         48.    Based on information and belief, it is the habit, custom, and policy

         of HPD to treat any counseling or mental health treatment, as indicated by

         an affirmative answer to the question of whether or not an applicant had

         ever received treatment or counseling, as conclusive proof that the

         applicant is or had been diagnosed as having a significant behavioral,

         emotional, or mental disorders as defined by the most current diagnostic

         manual of the American Psychiatric Association or for treatment for

         organic brain syndromes. Accordingly, based upon information and belief,

         it is the custom, habit and policy of HPD that once any indication of any

         treatment or any counseling is discovered, that the HPD then halts the

         application process, effectively denies the application, shifts the burden to

         the applicant to disprove something that does not exist and denies the

         applicant his right to keep and bear arms, and his firearms, even if lawfully

         owned already, until the applicant finds a physician who is willing to

         certify in writing that the applicant “no longer suffers” from the significant

         behavioral, emotional, or mental disorders as defined by the most current

         diagnostic manual of the American Psychiatric Association or for

         treatment for organic brain syndromes.


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                                     PERTINENT LAWS


         49.    Outside of the laws that could potentially be at issue in this

         litigation, Santucci is not otherwise considered a prohibited possessor by

         Defendants’ custom, habit and policy of applying the H.R.S.

         50.    Plaintiff Santucci has never been diagnosed with a mental disorder

         that would disqualify him from firearms ownership under Hawaii or

         federal law;

         51.    Plaintiff Santucci does not take illegal drugs or abuse alcohol;

                                      COUNT I

                             U.S. CONST., AMEND. II

         52.    Plaintiff repeats and realleges the allegations of the preceding

         paragraphs as if set forth herein;

         53.    Hawaii state law does not require Plaintiff to be medically cleared

         because he has not been diagnosed with a significant behavioral, emotional

         or mental disorder as defined by the most current diagnostic manual of the

         American Psychiatric Association;

         54.    Thus, requiring Plaintiff to get medical clearance to own a firearm

         due to any or some mental health treatment or counseling that is unrelated

         to an actual diagnosis of a significant behavioral, emotional or mental




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         health disorder as defined by the most current diagnostic manual of the

         American Psychiatric Association is an independent City policy;

         55.     Defendants’ policy which requires Plaintiff to get written

         certification and medical clearance before he can own firearms violates the

         Second Amendment.

         56.     Alternatively, if the City and State may properly require medical

         clearance pursuant to H.R.S. §134-7, then H.R.S. §134-7 is

         unconstitutional as applied to Plaintiff;

         57.     Alternatively, if this Court finds that the City and State can

         properly require medical clearance without a diagnosis of having a

         significant behavioral, emotional, or mental disorder as defined by the

         most current diagnostic manual of the American Psychiatric Association or

         for treatment for organic brain syndromes under H.R.S. § 134-7, then that

         statute is unconstitutional as applied to Plaintiff.

         58.    The most current diagnostic manual of the American Psychiatric

         Association does not categorize mental, behavioral or emotional disorders

         as significant or insignificant.

        59. Because the statute references a non-existent circumstance, i.e. the most

           current diagnostic manual of the American Psychiatric Association does

           not define any emotional, behavioral or mental condition as “significant”,


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              any enforcement of the State of Hawaii’s customs, policies, practices and

              laws related to the State of Hawaii on the acquisition, possession and

              registration of firearms is a violation of Plaintiff’s Due process rights.

        60.     Therefore, there is no such thing as a diagnosis as having a significant

              behavioral, emotional, or mental disorders as defined by the most current

              diagnostic manual of the American Psychiatric Association.

        61.     And thus, it is an impossibility for a person to have such a thing.

        62.     It serves no government interest to need to be cleared of something that

              does not exist.

        63.     Therefore, it is unconstitutional for the City and or State to require a

              medical clearance.

        64.     Additionally, the disclosure process violates the Second Amendment

              because it requires the disclosure of private information as described in the

              section below.

        65.     It thus, chills Second Amendment conduct.

                                               COUNT II

                                              Due Process

        66.     The Due Process states that “No State shall make or enforce any law

              which shall abridge the privileges or immunities of citizens of the United




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              States; nor shall any State deprive any person of life, liberty, or property,

              without due process of law”. See U.S. Const. amend. XIV, § 2;

        67.     Under the law governing substantive due process, Plaintiff must prove

              that: (1) he had a valid interest at stake; and (2) defendant infringed on

              that interest in an arbitrary or irrational manner. Royal Crown Day Care

              LLC v. Dep't of Health & Mental Hygiene, 746 F.3d 538, 545 (2d Cir.

              2014);

        68.     Plaintiff has a valid liberty interest in his constitutional right to own a

              firearm;

        69.     Plaintiff has a valid property interest in his ownership of his firearms.

        70.     The City infringes on that right by acting in an ultra vires manner which

              is inherently arbitrary;

        71.     The City is acting in an ultra vires manner because it requires applicants

              such as Plaintiff to get medical clearance that he is fit to own a firearm

              despite state law only requiring those that have previously received a

              diagnosis for a significant mental disorder as defined by the most current

              diagnostic manual of the American Psychiatric Association to receive

              medical clearance;

        72.     Because the City “did not have authority for the actions it took

              regarding” Plaintiff’s firearm rights, the City’s action was “ultra vires and,


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              as a result, sufficiently arbitrary to amount to a substantive due process

              violation.” Cine SK8, Inc. v. Town of Henrietta, 507 F.3d 778, 790 (2d Cir.

              2007);

        73.     Thus, the City has violated Plaintiff's Due Process rights;



                                         COUNT III

                                     Equal Protection

        74.     The Equal Protection Clause of the 14th Amendment provides "nor shall

              any State ... deny to any person within its jurisdiction the equal protection

              of the laws". See U.S. Const. amend. XIV, § 2;

        75.     The City’s policy is a violation of Equal Protection because Plaintiff is

              being treated differently than others who have never been diagnosed with

              a significant mental disorder as defined by the most current diagnostic

              manual of the American Psychiatric Association;

        76.     The City’s policy is a violation of Equal Protection because Plaintiff is

              being treated differently than others who have never received any sort of

              counseling or treatment;

                                            Vagueness

        77.     Alternatively, if this Court finds that the statute can properly require

              medical clearance without a diagnosis as having a significant behavioral,


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              emotional, or mental disorders as defined by the most current diagnostic

              manual of the American Psychiatric Association or for treatment for

              organic brain syndromes for a under H.R.S. § 134-7, then the statutory

              scheme is void for vagueness;

        78.     It is a basic principle of due process that an enactment is void for

              vagueness if its prohibitions are not clearly defined. Grayned v. County of

              Rockford, 408 U.S. 104, 108, 92 S. Ct. 2294, 2298 (1972);

        79.     The most current diagnostic manual of the American Psychiatric

              Association does not categorize mental, behavioral or emotional disorders

              as significant or insignificant. See Exhibit E Declaration of Dennis

              Petrocelli.

        80.     Therefore, it is impossible to determine what mental illness prohibits a

              person from firearm ownership. Therefore, the H.R.S. fails to provide fair

              warning of what is a prohibiting mental, behavioral and emotional disorder

              and the H.R.S. is unconstitutionally vague both facially and as applied to

              Plaintiff;

                                           COUNT V

                (DUE PROCESS RELEASE OF PRIVATE INFORMATION)

        81.     Plaintiff has a right to privacy in his personal information, which is

              inherent in the “Fourteenth Amendment’s concept of personal liberty,”


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              Whalen v. Roe, 429 U.S. 589, 598 n.23 (1977), which protects “the

              individual interest in avoiding disclosure of personal matters,”;

        82.     Because Plaintiff has a right to privacy in his personal information, the

              government must show that the disclosure of that information is narrowly

              tailored to achieve a legitimate state interest. Ferm v. United States Trustee

              (In re Crawford), 194 F.3d 954, 959 (9th Cir. 1999).

        83.     Here, the City and State violate that right because it requires the Plaintiff

              and all other firearm applicants to sign a waiver that gives the City and

              State access to all medical information related to mental health. See

              Exhibit C Waiver Form.

        84.     The City and State’s stated interest is to see only whether Plaintiff has

              been diagnosed with a significant behavioral, mental or emotion disorder

              as defined by the defined by the most current diagnostic manual of the

              American Psychiatric Association or treatment for organic brain

              syndrome.

        85.     Therefore, the required disclosure is not narrowly tailored to disclose

              only private information related to the information the City and State need.

        86.     Therefore, the City and State’s waiver is unconstitutional because it

              requires Plaintiff to disclose private information without cause.




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        87.     The policy also violates Due Process because it sends an applicant’s

              doctor a form which discloses that they are purchasing a firearm. See

              Exhibit F, which is a copy of a redacted letter typically sent to doctors

              when an applicant seeks to get permission to exercise his second

              amendment rights and own a firearm.

        88.     There is no government interest in telling an applicant’s doctor that he

              is purchasing a firearm.

        89.     The City could achieve its goal simply by sending a letter requesting the

              same information, specifically whether or not an applicant has been

              diagnosed with a significant behavioral, mental or emotion disorder as

              defined by the defined by the most current diagnostic manual of the

              American Psychiatric Association and a release form from an applicant

              without disclosing that an applicant was purchasing a firearm.

        90.     Therefore, the City violates Due Process on two fronts because it

              discloses private information without a valid government interest.

                                         COUNT IV

                            (DECLARATORY JUDGMENT)

        91.     Plaintiff repeats and realleges the allegations of the preceding

              paragraphs as if set forth herein;




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        92.     The Declaratory Judgment Act provides: "In a case of actual

              controversy within its jurisdiction, any court of the United States may

              declare the rights and other legal relations of any interested party seeking

              such declaration, whether or not further relief is or could be sought." 28

              U.S.C. 2201(a);

        93.     Absent a declaratory judgment, there is a substantial likelihood that

              Plaintiff will suffer irreparable injury in the future;

        94.     There is an actual controversy between the parties of sufficient

              immediacy and reality to warrant issuance of a declaratory judgment;

        95.     This Court possesses an independent basis for jurisdiction over the

              parties;

        96.     Plaintiff demands a judgment declaring that Defendants’ policies and or

              laws, which deny Plaintiff the right to own, possess and acquire firearms

              are unconstitutional as applied to him, and that Defendants’ policies and

              or laws also violate his privacy rights as applied to him;

        97.     Alternatively, a declaration that H.R.S. §134-7 is unconstitutional as

              applied to Plaintiff;

        98.     A declaration and judgment that H.R.S. §134-7, and specifically (c)(3),

              is unconstitutional as violative of the Second Amendment;




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        99.        A declaration and judgment that H.R.S. §134-7, and specifically (c)(3),

              is unconstitutional as violative of the Fourteenth Amendment’s guarantee

              of equal protection;

        100.          A declaration and judgment that H.R.S. §134-7, and specifically

              (c)(3), is unconstitutional and void for vagueness;

                                   PRAYER FOR RELIEF

          WHEREFORE, Plaintiff requests that judgment be entered in his favor

  and against Defendants as follows:

              1.      An order preliminarily and permanently enjoining Defendants, their

              officers, agents, servants, employees, and all persons in active concert or

              participation with them who receive actual notice of the injunction, from

              enforcing Defendants’ policies complained about above;

              2.      Plaintiff requests this Court, enjoin H.R.S. §134-7, any other relevant

              provision of the H.R.S. and any relevant city policy both facially and as

              applied to him;

              3.      Declaratory relief that the complained of City and State policies are

              unconstitutional both facially and as applied to Plaintiff.

              4.      Declaratory relief that the complained of statute, H.R.S. §134-7 and

              any other relevant provision of law, is unconstitutional both facially and as

              applied to Plaintiff.


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           5.   Costs of suit, including attorney fees and costs pursuant to 42 U.S.C.

           §1988;

           6.   Nominal Damages.

           7.   Compensatory Damages

           8.   Such other relief consistent with the injunction as appropriate; and

           9.   Such other further relief as the Court deems just and appropriate.

                    Dated: April 3, 2022.

                                       Respectfully submitted,


                                       /s/ Alan Beck
                                       Counsel for Plaintiff

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